

People v Autry (2024 NY Slip Op 02459)





People v Autry


2024 NY Slip Op 02459


Decided on May 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., BANNISTER, MONTOUR, GREENWOOD, AND NOWAK, JJ.


337 KA 21-01388

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vISIAH AUTRY, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






ERICKSON WEBB SCOLTON &amp; HAJDU, LAKEWOOD (LYLE T. HAJDU OF COUNSEL), FOR DEFENDANT-APPELLANT.
ISIAH AUTRY, DEFENDANT-APPELLANT PRO SE.
JOHN J. FLYNN, DISTRICT ATTORNEY, BUFFALO (MINDY F. VANLEUVAN OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (Christopher J. Burns, J.), rendered August 11, 2021. The judgment convicted defendant, upon his plea of guilty, of attempted assault in the second degree. 
Now, upon reading and filing the stipulation of discontinuance signed by defendant on February 28, 2024 and by the attorneys for the parties on March 11, 2024,
It is hereby ORDERED that said appeal is unanimously dismissed upon stipulation.
Entered: May 3, 2024
Ann Dillon Flynn
Clerk of the Court








